         Case 1:21-cv-00189-CRK Document 26         Filed 02/07/22   Page 1 of 1




            UNITED STATES COURT OF INTERNATIONAL TRADE


WORLD WIDE PACKAGING, LLC,

        Plaintiff,
                                              Before: Claire R. Kelly, Judge
v.
                                              Court No 21-00189
UNITED STATES,

        Defendant.


                                      ORDER

        Upon consideration of the parties’ joint status report and consent motion to

stay the proceedings, see ECF No. 24, it is

        ORDERED that the motion is granted; and it is further

        ORDERED that all proceedings in this action are stayed until and including

Monday, May 9, 2022; and it is further

        ORDERED that the parties shall file a joint status report and either a

proposed scheduling order or request to extend the stay on or before Friday, May 6,

2022.

                                                      /s/ Claire R. Kelly
                                                      Claire R. Kelly, Judge

Dated:        February 7, 2022
              New York, New York
